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                                                 IN THE UNITED STATES DISTRICT COURT

                                                        FOR THE DISTRICT OF ALASKA

                            NORDAQ ENERGY, INC., a Delaware                      )
                            corporation with its principal place of              )
                            business in Alaska,                                  )
                                                                                 )
                                                   Plaintiff,                    )
                                   v.                                            )
                                                                                 )
                            PAULL. DEVINE, a citizen of the United               )
                            Kingdom; ANDREW ALLISTER KNOTT, a                    )
                            citizen of the United Kingdom; LOTHIAN               )
                            INVESTMENT PARTNERS LIMITED, a                       )
                            corporation organized under the laws of              )
                            Scotland, United Kingdom, and with its               )
                            principal place of business in the United            )
                            Kingdom; and GOLDEN EAGLE                            )
                            PETROLEUM LIMITED, a corporation                     )
                            organized under the laws of Scotland, United         )
                            Kingdom, and with its principal place of             )
   BRENA, BELL &            business in the United Kingdom,                      )
  CLARKSON, P.C.
 810 N Street, Suite 100
                                                                                 )       Case No. 3:16-cv-0267 JWS
Anchorage, Alaska 99501                            Defendants,                   )
 Phone : (907) 258-2000
Facsimile: (907) 258-2001   ___________                                          )



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                                                        SECOND AMENDED COMPLAINT

                                     Plaintiff, NordAq Energy, Inc. ("NordAq" or "the Company"), by and through its

                            attorneys, Brena, Bell & Clarkson, P.C., for its Second Amended Complaint against

                            Defendants Paul L. Devine ("Devine"), Andrew Allister Knott ("Knott"), Lothian

                            Investment Partners, Limited ("Lothian"), and Golden Eagle Petroleum Limited ("GE")

                            states and alleges as follows:

                                                                        PARTIES

                                     1.    Plaintiff, NordAq Energy, Inc. ("NordAq"), is a corporation organized and

                            existing under the laws of the State of Delaware, with its principal place of business in

                            Anchorage, Alaska. NordAq is in all ways qualified to maintain this action.

                                     2.    Defendant, Paul L. Devine ("Devine"), is a citizen of the United Kingdom,

                            who was at all times pertinent to the allegations stated in this Complaint a legal resident of

                            the United States working and residing in the State of Alaska, but who is currently a

                            permanent resident of London, England. Devine is subject to the jurisdiction of this Court.

                                     3.    Defendant, Andrew Allister Knott ("Knott"), is a citizen of the United

                            Kingdom and a resident of London, England. Knott is subject to the jurisdiction of this

                            Court.

                                     4.    Defendant, Lothian Investment Partners Limited ("Lothian"),              is a

                            corporation organized and existing under the laws of Scotland, United Kingdom, with its
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  CLARKSON, P.C.
 810 N Street, Suite 100    principal place of business in the United Kingdom. Lothian is subject to the jurisdiction
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 Phone: (907) 258-2000
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                            of this Court. Hereafter, when Knott and Lothian are referenced together, they will be

                            referred to as Lothian/Knott.

                                    5.     Defendant, Golden Eagle Petroleum Limited, ("GE") is a corporation

                            organized and existing under the laws of Scotland, United Kingdom, with its principal

                            place of business in the United Kingdom. GE is subject to the jurisdiction of this Court.

                                                              JURISDICTIONNENUE

                                    6.     This Court has jursidiction over the subject matter of this action based upon

                            diversity of citizenship between NordAq and Devine under 28 U.S.C. § 1332(a)(l) and/or

                            28 U.S.C. § 1332(a)(2). This Court has jursidiction over the subject matter of this action

                            based upon diversity of citizenship between NordAq and Knott under 28 U.S.C.

                            § 1332(a)(2). This Court has jurisdiction over the subject matter of this action based upon

                            diversity of citizenshp between NordAq and Lothian under 28 U.S.C. §§ 1332(a)(2) and

                            1332(c)(l). This Court has jurisdiction over the subject mater of this action based upon

                            diversity of citizenship between NordAq and GE under 28 U.S.C. §§ 1332(a)(2) and

                            1332(c)(l). NordAq, as a corporation organized under the laws of the State of Delaware,

                            with its principal place of business in Alaska, is a resident of both Delaware and Alaska.

                            Devine is a citizen of the United Kingdom, and thus is a citizen or subject of a foreign state

                            for purposes of diversity jurisdiction under 28 U.S.C. § 1332(a)(2). Knott is a citizen of

                            the United Kingdom, and thus is a citizen or subject of a foreign state for purposes of

   BRENA, BELL&             diversity jurisdiction under 28 U.S.C. § 1332(a)(2). Lothian, a corporation organized under
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Anchorage, Alaska 99501
 Phone: (907) 258-2000      the laws of Scotland, United Kingdom, with its principal place of business in the United
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                            Kingdom, is a resident of the United Kingdom and thus a citizen of a foreign state for

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                            purposes of diversity jurisdiction under 28 U.S.C. § 1332(a)(2) and 28 U.S.C. § 1332(c)(l).

                            GE, a corporation organized under the laws of Scotland, United Kingdom, with its principal

                            place of business in the United Kingdom, is a resident of the United Kingdom and thus a

                            citizen of a foreign state for purposes of diversity jurisdiction under 28 U.S.C. § 1332(a)(2)

                            and 28 U.S.C. § 1332(c)(l). The amount in controversy between NordAq and each of the

                            Defendants is in excess of $75,000.

                                    7.       Venue in this action is appropriate in the District of Alaska under 28 U.S.C.

                            § 139l(b )(2).

                                                     ALLEGATIONS COMMON TO ALL COUNTS

                                    8.       Defendant Devine served as Chief Financial Officer ("CFO") of NordAq

                            from January 2011 to August 2013 and as Chief Executive Officer ("CEO") of N ordAq

                            from September 2013 to July 2015. Devine served as a member of NordAq's Board of

                            Directors from April 2011 to June 2015. As CFO/CEO and a member of the Board of

                            Directors of NordAq, Devine had influence over other NordAq Board members and also

                            members ofNordAq management, which he used to execute and conceal his schemes and

                            activities, as set forth in this action.

                                    9.       Knott is the sole shareholder of Lothian.           Knott 1s the managing and

                            controlling executive officer of Lothian.

                                    10.      Knott is President and sole shareholder of GE. Knott is the managing and

  BRENA, BELL &             controlling executive officer of GE.
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                                           DEVINE'S MISAPPROPRIATION AND MISUSE OF
                                          CORPORATE ASSETS, OPPORTUNITIES AND FUNDS
                                           FOR PERSONAL GAIN, AND OVERALL SCHEME
                                                     TO DEFRAUD NORDAQ

                                           SUMMARY OF MISAPPROPRIATIONS, MISCONDUCT,
                                               AND SCHEMES TO DEFRAUD NORDAQ

                                    11.     Over the course of 2011 to 2015, Devine, acting alone or in certain instances

                            in concert with other parties, and in certain instances aided and abbetted by other parties,

                            misappropriated more than $6,500,000 in cash from, and engaged in the unauthorized and

                            fraudulent conveyance or transfer of substantial non-cash assets ofNordAq through a wide-

                            ranging fraud using various methods and schemes. In addition, Devine breached his

                            fiduciary duties to NordAq in multiple other ways. Certain ofDevine's methods and means

                            of breaching his fiduciary duties and defrauding NordAq are summarized in paragraphs

                            11.1 through 11.5 below.

                                            11.1. From 2011 to 2015, Devine engaged in an extensive and frequent

                            pattern of direct theft of substantial sums of cash from NordAq bank accounts.

                                            11.2. From 2011 to 2015, Devine made unauthorized use ofNordAq monies

                            and/or Company shares and/or warrants to pay third parties, with the express or implicit

                            understanding and agreement that those third parties would transfer, convey, and/or

                            provide, or had already transferred, conveyed, or provided, personal benefit and/or gain to

                            Devine. The gain that Devine received and/or planned to receive took the form of both

  BRENA, BELL &             monies, property, and/or benefits outside of NordAq and also, in some instances, as set
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 810 N Street, Suite 100
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 Phone: (907) 258-2000      forth below, took the form of promised continued position, employment, and compensation
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                            within and from N ordAq.

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                                           11.3. The Devine third-party payments using NordAq's monies or assets to

                            promote Devine's personal interests and personal business opportunities included, among

                            other things, unauthorized and fraudulent payments of NordAq monies to Mr. Johnathon

                            Edward Aitken Kidd ("Kidd") and Kidd's friends and relatives. Kidd was founder and

                            Chairman of the Board for NordAq from January 2009 to June 2015, and served as

                            consultant to NordAq from January 2011 to June 2015. Devine has a long-time personal

                            relationship with Kidd and his family.

                                           11.4. The Devine third-party payments using NordAq's monies or assets,

                            included, among other things, unauthorized agreements entered into with, the conveyance

                            of NordAq assets to, and the unauthorized issuance of warrants to purchase equity

                            securities ofNordAq to, Lothian and Knott and Knott's wife and business partners.

                                           11.5. The Devine third-party payments using NordAq's monies or assets to

                            promote Devine's personal interests and personal business opportunities included, among

                            other things, the theft and unauthorized and fraudulent payment of enormous sums of

                            NordAq monies to and for the benefit of more than fifty of Devine's friends and relatives,

                            by purchasing homes for them, paying for their personal vacations, paying for their college

                            tuition, and paying many of their personal expenses.

                                    12.    Devine's breaches of fiduciary duty, misappropriations, and actions to

                            defraud NordAq also included, among other things, the activities summarized m

  BRENA, BELL &             paragraphs 12.1 through 12.10 below.
  CLARKSON, P.C.
 810 N Street, Suite 100
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 Phone: (907) 258-2000                     12.1. Devine executed, on behalf of the Company, a consulting contract or
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                            agreement with Kidd through a company named Clearview Management, Inc.

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                            ("Clearview"). Clearview is a company controlled and owned by Devine. He then caused

                            NordAq to pay sums of money for Kidd's services far in excess of the contracted terms

                            directly to Devine's personal bank account. However, on information and belief, Devine

                            did not remit to Kidd all of the funds that he received from NordAq related to Kidd's

                            services. In this way, Devine used the consulting agreement with Clearview for Kidd's

                            consulting services to disguise and hide payments of monies from NordAq to himself.

                                            12.2. Although Devine was paid a salary through NordAq's payroll

                            beginning in January 2012, he instructed NordAq finance personnel to wire into his

                            personal bank account substantial sums of NordAq monies on a frequent but ad hoc basis

                            ($5,287,000 from nearly 200 wire transfers from 2011-2015), as and when he desired such

                            funds.    Additionally, Devine personally collected NordAq monies approved for the

                            payment of Kidd's consulting services to NordAq.               Devine also charged substantial

                            personal expenses on NordAq debit cards, without the knowledge or approval of the

                            Company's Board of Directors or shareholders. Devine caused NordAq to maintain a "Due

                            from Clearview" account in an attempt to reconcile the amount owed from Devine on a

                            monthly basis; however, the convoluted way that Devine managed the Company's cash

                            and the difficulty in getting proper documents approving various transactions made this

                            reconciliation difficult and enabled Devine to take, or caused to be expended for his benefit,

                            significantly more NordAq monies that he was actually due in compensation.

  BRENA, BELL &                            12.3. Devine presented false invoices from third parties for services never
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 Phone: (907) 258-2000      performed for the benefit of NordAq that resulted in the payment of substantial sums of
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                            monies from NordAq to Devine's friends and family.

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                                            12.4. Devine fabricated or had others create purported NordAq Board

                            documents appearing to represent evidence of NordAq's Board's approval of various

                            bonuses for himself and Kidd, among other things, when in fact these issues were never

                            presented to, or approved by, the NordAq Board. In many cases, purported NordAq Board

                            minutes or resolutions were created a year or more after the supposed meetings took place,

                            and were created only after NordAq's auditors requested evidence that appropriate

                            approvals had been given for certain transactions. In these cases, Devine was creating false

                            audit evidence for the purpose of obtaining an unqualified audit opinion-one that would

                            have been based upon false and fraudulent information.

                                            12.5. In other cases, Devine fabricated or had others create purported

                            NordAq Board documents appearing to represent evidence of NordAq's Board's

                            consideration and approval of loan and contract transactions with Knott and Lothian. In

                            these cases, once again, Devine had purported NordAq Board minutes or resolutions

                            created after the supposed meetings took place to serve as false evidence representing that

                            the transactions with Knott and Lothian had been noticed to and then considered and

                            approved by NordAq's Board. At one point, Devine falsely informed NordAq's legal

                            counsel that he had given notice of the alleged Board meeting by telephone, when no such

                            notice had been given and no such meeting had been held.

                                           12.6. Devine acted in concert, agreed with, and was aided and abetted by

  BRENA, BELL &             Knott, acting for himself and for Lothian, to have Devine commit NordAq to acquire and
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 Phone: (907) 258-2000      transfer valuable oil and gas leases in Alaska to a corporation owned and controlled by
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                            Knott (a company that Knott later formed as GE) in violation ofNordAq's preexisting and

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                            outstanding loan and security agreements with CIRI Energy, LLC ("CIRI"). Devine was

                            fully aware of NordAq's preexisting and outstanding loan and security agreements with

                            CIRI that were created and existing by virtue of a certain Note Purchase Agreement and a

                            Pledge and Security Agreement, both dated August 3, 2012, and Devine imparted this

                            information to Knott and/or Knott himself became aware of CIRI's security agreements

                            and liens. Pursuant to the August 3, 2012, Pledge and Security Agreement, NordAq had

                            granted to CIRI security interests in virtually all ofNordAq's personal property assets, both

                            then owned and after acquired, including its oil and gas leases. CIRI' s security agreements

                            were recorded in public records with the State of Alaska, Department of Natural Resources

                            ("ADNR") and/or the United States, Bureau of Land Management ("BLM"), and thus

                            Knott was on constructive notice as a matter of law of CIRI's prior security interests. CIRI

                            is referenced as a creditor of NordAq in § 6 of the Third Loan Agreement, dated

                            February 10, 2014, that was executed by Devine for NordAq and Knott for Lothian.

                                           12.7. In several cases, Devine communicated with members of the

                            Company's accounting staff, including by email, and instructed them to record as NordAq

                            expenses payments from NordAq, which benefitted Devine or his friends and family and

                            that provided no benefit whatsoever to NordAq.

                                           12.8. Devine orchestrated the transfer of significant overriding royalty

                            interests ("ORRis") in the Company's leased acreage in Alaska to himself and other

  BRENA, BELL &             Company executives, without Board approval, and then transferred, and had the other
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 Phone: (907) 258-2000      executives transfer, these ORRis to other parties, on information and belief, in return for
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                            payments directly to Devine.

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                                            12.9. Devine sold a significant portion of his shares in NordAq, in violation

                            of his fiduciary duties as the CEO and as a Board member of the Company, at many times

                            when the Company was actively raising funds for its operations. In doing so, he created a

                            private market for shares to benefit only himself, and deprived the Company of potential

                            investors that it was actively pursuing to finance Company projects.

                                            12.10. In 2011, NordAq did not have a payroll; all employees were paid as

                            consultants. Devine was paid during this time from a Chase account by a NordAq Director,

                            Hugh North ("North"), who was residing in the United Kingdom. Devine never informed

                            North that Devine was being paid through NordAq's payroll starting in January 2012, and

                            Devine continued to receive his consultant pay, in addition to his salary, for over two years.

                            As CFO of the Company during this time, Devine was in charge of the financials of the

                            Company, and therefore the issue of Devine's compensation; more specifically, his

                            overcompensation was never raised to the attention of NordAq's Board of Directors or

                            shareholders.

                                             SPECIFIC MISAPPROPRIATIONS, MISCONDUCT,
                                                 AND SCHEMES TO DEFRAUD NORDAQ

                                    13.     Between 2011 and 2015, Devine was paid an annual salary of $300,000;

                            however, in addition to the $1,330,443 that he received via the NordAq payroll (over

                            $50,000 of which constituted a bonus that was not properly approved by the Board), Devine

                            paid himself or caused NordAq employees to pay him the following extraordinary sums of
  BRENA, BELL &
  CLARKSON, P.C.
 810 N Street, Suite 100    NordAq monies: $4,597,545 in Wells Fargo wire transfers, $689,000 in Chase wire
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                            transfers, $413,577 in expenses for himself or Kidd paid on company debit cards, and


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                            $10,574 for his personal American Express credit card account. In addition, Devine

                            authorized over $500,000 in fringe benefits for himself and Kidd that were not approved

                            by the NordAq Board or documented in any agreement. Devine also authorized, and in

                            many cases disguised as NordAq expenses, over $1,300,000 in payments to third parties

                            that benefitted Devine and his friends and family, but that provided no value to NordAq.

                            Additionally, Devine used Company debit cards to purchase over $265,000 of airline

                            tickets for over fifty of his friends and acquaintances who had no connection to NordAq.

                            The total payments to Devine and for the sole benefit of Devine and his friends and family

                            between 2011 and 2015 exceeded $9,000,000.                  Certain of Devine's methods for

                            misappropriation of Company monies or assets are set forth in the examples below.

                                    14.    On September 1, 2011, Devine instructed NordAq to wire him $148,000,

                            purported to be used in part to make a loan of $58,000 to Faith Warthen ("Warthen"), who

                            was the wife of a Company executive. Devine instructed that the $58,000 be recorded as

                            a loan receivable by NordAq from Warthen. Later, on April 12, 2013, Warthen requested

                            wire transfer information for NordAq to pay back the loan, but subsequently was instructed

                            by Devine to send the funds to Devine rather than NordAq. Devine wired NordAq $50,000

                            on April 19, 2013, but he did not notify N ordAq that these funds related to Warthen, instead

                            recording the transfer of funds as a reduction in the amount due from Clearview (i.e.,

                            Devine). Devine then instructed NordAq employees to cause NordAq to write the Warthen

  BRENA, BELL &             loan off as part of the Company's 2013 audit.
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 810 N Street, Suite 100
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 Phone: (907) 258-2000              15.    Devine caused to be wired $1,200,000 from NordAq to his personal bank
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                            account on September 16, 2014, which he claimed represented a $600,000 bonus for

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                            Devine and a $600,000 bonus for Kidd. These bonuses were not approved by the NordAq

                            Board, and on information and belief, the $600,000 for Kidd was kept by Devine and not

                            transferred to Kidd. From this unauthorized payment, Devine immediately disbursed

                            $1,052,714 to various parties, including $945,000 that was wired on September 16, 2014,

                            to complete his purchase of a private residence in Driftwood, Texas, for an individual

                            named Cheryl White (a person who was not then and is not now affiliated with NordAq in

                            any way); $5,000 that was wired on September 16, 2014, for a cashier's check required to

                            purchase furniture and lawn equipment on the Driftwood, Texas, property; $6,109 wired

                            on September 17, 2014, to pay tuition for the daughter of an individual named Rebecca

                            Detrick (a person who was not then and who is not now affiliated with NordAq in any

                            way); and $96,605 that was wired on September 22, 2014, to pay a confession of judgment

                            that Devine had personally signed related to another property that he had purchased with

                            NordAq funds, which served as the residence of Rebecca Detrick.

                                    16.    Devine caused to be wired $350,000 from NordAq to his personal bank

                            account on December l, 2014, for the stated purpose of paying cash fees to an individual

                            named Kenneth David Stevenson ("Stevenson"), who had a relationship with Devine,

                            related to a $10 million loan that Stevenson helped arrange on behalf of the Company in

                            October 2014 (Stevenson also received 278,750 in NordAq warrants for his fundraising

                            success on behalf of the Company and was transferred 250,000 of Kidd's shares, on

  BRENA, BELL &             information and belief, in exchange for benefits enjoyed only by Devine and not the
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 810 N Street, Suite 100
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 Phone: (907) 258-2000      Company).      On December 1, 2014, the same day NordAq wired Devine $350,000,
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                            purportedly for Stevenson, Devine wired $330,550 to pay for another private residence in

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                            Auburn, Alabama, that he purchased for an individual named Donna Kress (an individual

                            who was not then and is not now affiliated with NordAq in any way). Subsequently,

                            Devine instructed NordAq employees to send a separate transfer of $300,000 on

                            December 3, 2014, to an entity called EAS Advisors (for whom Stevenson was working)

                            for the same services. Email evidence shows that Stevenson was compensated from this

                            $300,000 payment.

                                    17.    Devine made $413,577 in unauthorized personal expenses that he charged

                            directly to NordAq debit cards, including $39,897 to Auburn University to pay the tuition

                            for the daughter of Donna Kress (an individual who was not then and is not now affiliated

                            with NordAq in any way); $9,874 to Tiffany's for a personal gift for one of his family or

                            friends; $32,311 to a concierge/limo service in London, England, for services delivered to

                            himself and/or one or more of his family or friends; $55,751 to AT&T for personal cell

                            phones (belonging to himself and non-NordAq employees) separate from his NordAq cell

                            phone; $36,311 to Hilton for personal hotel stays; $18,614 to U.S. Bank for an Audi

                            automobile either for himself or one of his family or friends; $17,548 to Intercontinental

                            Hotel for personal hotel stays; $14,303 to another limo service for services delivered to

                            himself and/or one of his family or friends; and $165,795 to 122 additional separate

                            vendors for personal expenses unrelated to NordAq business. See the attached Exhibit A

                            for a detailed spreadsheet of personal expenses by vendor and category. None of the above-

  BRENA, BELL &             stated expenses were related to NordAq business or were of any benefit to NordAq.
  CLARKSON, P.C.
 810 N Street, Suite 100
Anchorage, Alaska 99501
 Phone: (907) 258-2000             18.     Between 2011 and 2015, Devine made or authorized payments to others for
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                            his personal benefit that were either recorded as NordAq expenses or in the "Due from

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                            Clearview" account in NordAq's books and records, totaling in excess of $1,300,000.

                            These expenses include $84,000 to a horse-breeding company owned by Kidd's

                            assistant/associate; $7,311 to pay the landlord of Stevenson; $3,525 and $4,578 for

                            collectible fountain pens for Devine; $5,119 for payment on Devine's personal mortgage;

                            $7,500 to pay Kidd's personal tour fees in Taiwan; $12,000 to pay an attorney for Devine's

                            mother's estate; $16,088 for a golf outing for Kidd's daughter; $24,000 in support

                            payments to Kidd's ex-wife; $33,408 to Andrew Fraser, the boyfriend of Devine's

                            daughter; $45,000 in support payments to Kidd's son; $50,000 in support payments to

                            Kidd's daughter; $60,000 to Kidd's cousin for unspecified consulting services, on

                            information and belief never provided to NordAq, and/or which had no value or benefit to

                            N ordAq; $69,744 for real property title searches that were of no benefit or value to NordAq;

                            $2,974 for a credit card unrelated to NordAq; $144,470 to Swiss Finanz (of which Devine

                            owns 49 percent); $125,000 for a debt of Devine's former employer that he personally

                            assumed; $185,409 for a downpayment on a residence in Puyallup, Washington, which

                            bore no relation to NordAq's business; $196,472 to pay off a personal loan of Devine; and

                            $260,000 in escrow payments related to Devine's former employer.             None of these

                            payments were for services or goods that provided any benefit to NordAq.

                                    19.    Total payments from NordAq to Kidd's friends and family, made or

                            authorized by Devine, totaled $263,000, but there is no evidence that any of them had any

  BRENA, BELL &             contract with NordAq or provided any services of value to NordAq. These payments
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 Phone: (907) 258-2000      include $20,000 to Lord Maxwell Beaverbrook ("Beaverbrook," Kidd's cousin) on
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                            September 12, 2012; $25,000 to Beaverbrook on December 5, 2012; $10,000 to Jack Kidd

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                            (Kidd's son) on November 12, 2013; $25,000 to Jodie Kidd (Kidd's daughter) on

                            December 18, 2013; $25,000 to Jack Kidd on December 18, 2013; $15,000 to Beaverbrook

                            on December 31, 2013; $25,000 to Jodie Kidd on February 14, 2014; $10,000 to Jack Kidd

                            on February 25, 2014; $24,000 to Wendy Kidd (Kidd's ex-wife) on August 6, 2014; and

                            $84,000 to ATSBA Canada (owned by Cynthia Swensen, Kidd's assistant/associate) in

                            twenty-three payments from July 2013 to May 2015.

                                   20.     NordAq paid a total of $69,744 to Vellum LLC, authorized by Devine for

                            title searches, including $19,375 on April 22, 2014; $14,345 on June 2, 2014; $18,250 on

                            Feburary 25, 2015; and $17,774 on March 16, 2015. These title searches on NordAq's

                            lease properties were used to understand the ORRI position on these assets. ORRis were

                            issued to N ordAq executives, including Devine, and most were subseqently transferred to

                            others. Vellum's services benefitted the executives and the transferrees, not NordAq.

                                   21.     NordAq made payments to Mr. Ernst Reutimann that Devine caused to be

                            recorded as "Capital Raising Costs," including $50,000 on January 19, 2012; $20,000 on

                            August 9, 2012; and $55,000 on September 18, 2014. These payments were for a loan that

                            Mr. Reutimann made to Perftech, Inc. ("Perftech"), Devine's former employer, which

                            Devine had personally assumed. These payments were ofno benefit to NordAq.

                                   22.     On October 17, 2012, NordAq wired $185,409 to National Title Company

                            for a residence in Puyallup, Washington. This residence was purchased in Devine's name

  BRENA, BELL &             and was the residence of an individual named Rebecca Detrick (a person who was not then
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 Phone: (907) 258-2000      and is not now affiliated with NordAq in any way). The amount was posted to NordAq's
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                            "Due from Clearview" account and was supposed to be repaid by Devine within days, but

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                            the check Devine sent to NordAq on October 19, 2012, was rejected due to nonsufficent

                            funds. Devine paid $75,000 to NordAq on October 26, 2012, but the balance of $110,409

                            remains unpaid. In addition, Devine signed a confession of judgment in the amount of

                            $96,605 for work done on this property, which he paid from the $1.2 million "bonus" he

                            received in September 2014. In total, Devine caused NordAq to fund a net amount of

                            $207,214 for a property that was of no benefit to it and which Devine sold on February 2,

                            2015, for $610,000. Per the settlement statement evidencing Devine's sale of this property,

                            Devine received $109,638 from the sale. None of these funds were returned to NordAq.

                                   23.     NordAq made several payments to the law firm Jermain, Dunnagan & Owens

                            ("JDO") and JDO Trust that Devine instructed NordAq's finance department via email to

                            record as "Legal Fees," specifically: $97,000 on May 7, 2014; $50,000 on June 9, 2014;

                            and $49,418 on July 28, 2014. JDO represented Michael Williams, who loaned $200,000

                            to Devine personally in September 2012 and was legally pursuing Devine for nonpayment

                            of this loan. These payments were of no benefit to NordAq.

                                   24.     Devine paid or caused to be paid funds to Perftech, which provided no service

                            to NordAq. NordAq wired Devine $85,000 on January 18, 2012, and Devine sent $80,000

                            to Perftech on that same date. In September 2012, Eider LLC ("Eider") (a company 100

                            percent owned by Devine) sent Perftech $550,000, of which NordAq paid $260,000 with

                            a wire to an escrow account related to a Perftech settlement agreement. Coincidentally,

  BRENA, BELL &             Kidd approved a bonus for Devine of $150,000, paid on August 30, 2012, which, on
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                            Perftech. On January 4, 2013, NordAq wired Devine $50,000, and on January 7, 2013,

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                            Eider sent $50,000 to Perftech. On May 13, 2013, NordAq wired $32,000 to Devine, and

                            on that same day, Eider sent $25,000 to Perftech. On July 12, 2013, NordAq wired $32,000

                            to Devine, and on that same day, Eider sent Perftech $25,000. Between August 7 and

                            August 27, 2013, NordAq wired $84,500 to Devine, and on August 27, 2013, Eider sent

                            Perftech $25,000.

                                   25.     NordAq made payments to Swiss Finanz (Marcel Riedel ("Riedel")), which

                            were recorded as "Capital Raising Costs":             $12,000 on July 24, 2012; $9,000 on

                            September 17, 2012; $15,000 on October 26, 2012; $8,000 on December 21, 2012; $7,900

                            on February 12, 2013; $7,400 on March 7, 2013; $7,680 on April 30, 2013; $7,750 on

                            June 7, 2013; $7,240 on August 5, 2013; $7,500 on November 14, 2013; $15,000 on

                            January 28, 2014; $20,000 on January 7, 2015; and $20,000 on March 26, 2015. There is

                            no evidence that Riedel introduced any investors that purchased shares from NordAq.

                            Moreover, Devine was a 49 percent owner in Swiss Finanz, and there is evidence that

                            Riedel was active in seeking investors who made personal loans to Devine and were

                            subsequently granted shares ofNordAq or transferred shares ofNordAq by Devine. The

                            personal loans to Devine, including $200,000 from Urs Klingler, $100,000 from Jacquelin

                            Kubli, and $55,000 from Swiss Finanz itself, were secured with NordAq shares and

                            royalties from NordAq's development.

                                   26.     Riedel and Swiss Finanz were also active in seeking investors to purchase

  BRENA, BELL &             Devine and Kidd's personal NordAq shares, with a total of 147 transfers/sales of shares by
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 Phone: (907) 258-2000      Devine and Kidd between March 2013 and May 2016. Neither management nor NordAq's
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                            Board was ever made aware of the specifics of these transactions. Riedel also found a

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                            buyer for certain of the Company's ORRI interests in May 2015, but this transaction was

                            never discussed or authorized by the NordAq Board. Nor was the transfer of a one percent

                            ORRI in certain NordAq lease assets to NordAq executives, including Devine and Kidd,

                            in June 2015.

                                   27.      NordAq made payments to Andrew Fraser, boyfriend ofDevine's daughter,

                            in the amounts of $16,408 on September 8, 2014; $8,500 on December 17, 2014; and

                            $8,500 on December 29, 2014. The only description of services on Fraser's invoices are

                            "Support to Chairman When in UK" or "1 Month UK Support." Fraser provided no

                            services to NordAq.

                                   28.      Between 2011 and 2015, Devine made or authorized payments of fringe

                            benefits to himself and Kidd in excess of $500,000. NordAq was not obligated to pay any

                            of these benefits, and these benefits were not authorized by the Board. These personal

                            expenses paid by NordAq include $221,691 for two apartments in London for Kidd;

                            $107,717 for Devine's Anchorage apartment; $78,467 for Kidd's health insurance (which

                            far exceeded the value of premiums paid by NordAq for other NordAq employees under

                            the Company's health insurance plan); $57,130 for two Audi leases; $18,023 for personal

                            auto insurance; $11,765 for Kidd's phone and internet in Canada; and $9,645 to Perftech

                            for reimbursement of payments made by Perftech for Devine's personal automobile.

                                   29.      Between 2011 and 2015, Devine made or authorized payments for personal

  BRENA, BELL &             flights for at least fifty friends and family members on NordAq debit cards in an amount
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                            These flights offered no benefit to NordAq. Devine also charged flights for himself

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                            exceeding $630,000, and flights for Kidd exceeding $200,000, which, upon information

                            and belief, include personal flights of no benefit to NordAq.

                                   30.     Devine continuously transferred or sold his personal NordAq shares from

                            March 2013 through May 2016. Under the terms of the Subscription Agreement of

                            NordAq's largest investor, that investor was entitled to a right of first refusal on any sales

                            of shares, and Devine and Kidd were restricted to selling or transferring a maximum of

                            20 percent of their personal holdings. Devine sold or transferred 232,669 shares, of which

                            NordAq was never given any details.             However, NordAq has learned that Devine

                            transferred 38,461 shares to Rolf Ehlers on April 15, 2011, to repay a loan of $250,000,

                            and subsequently appears to have settled interest on that loan with cash and shares, but

                            there is no record of this transfer in NordAq's books. NordAq has also learned that Devine

                            sold 10,000 shares to Michael Poujol ("Poujol") on May 10, 2013, which Poujol thought

                            were newly issued shares based on Devine's representations, and another 10,000 shares to

                            Poujol on August 25, 2013, where Devine again suggested to Poujol that he was buying

                            new shares, not Devine's shares. Poujol was an investor willing to invest in NordAq, but

                            Devine instead sold his own shares (for which he paid nothing) and kept the money at a

                            time when NordAq was actively seeking to sell new shares.

                                   31.     Devine appears to have made personal investments using NordAq funds. On

                            November 20, 2012, Devine invested approximately $48,000 in Blue Ensign Technologies

  BRENA, BELL &             Limited. NordAq wired Devine $140,000 from November 15-27, 2012. On November 4,
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 Phone: (907) 258-2000      2014, Devine invested $25,000 in Drink This LLC. This was less than two months after
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                            Devine received the $1.2 million "bonus" from NordAq documented in paragraph 22.

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                                               LOTHIAN INVESTMENT PARTNERS LIMITED
                                                   AND ANDREW ALLISTER KNOTT

                                   32.     In or before 2013, Knott came to Alaska in search of acquiring interests in

                            North Slope oil and gas leases. However, Knott was not, and none of his various companies

                            were, qualified with either the Alaska Department of Natural Resources ("ADNR") or the

                            Bureau of Land Management ("BLM") to bid on or acquire such Alaska oil and gas leases.

                            The United States and the State of Alaska own land on Alaska's North Slope. Leases for

                            oil and gas that are located below the surface of federal and state lands on Alaska's North

                            Slope are acquired through an application and bidding process through the ADNR (state

                            land) and/or the BLM (federal land).             Devine and Knott had conversations and

                            communications about potential development partnerships between Knott and/or his

                            companies and NordAq involving NordAq's existing leases, the Tulimaniq leases on the

                            Alaska North Slope, and also non-Alaska leases in which Knott had an interest. But, none

                            of these conversations between Devine and Knott led to or resulted in an agreement,

                            partnership, or joint venture between NordAq and Knott or his companies.

                                   33.     Devine knew, and Knott was aware, that NordAq had acquired leases on the

                            Alaska North Slope, the Tulimaniq leases. Devine knew, and Knott was aware, that

                            NordAq had signed security agreements with CIRI granting CIRI security interests in all

                            of NordAq's assets, both then presently owned and after-acquired. CIRI had recorded its

                            security interests consistent with Alaska law against NordAq's property and after-acquired
  BRENA, BELL &
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 810 N Street, Suite 100    property consistent with Alaska law, and thereby perfected its liens under Alaska law
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                            against NordAq's property and after acquired property. CIRl's liens were priority liens


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                            against NordAq's property and after-acquired property under Alaska law, and by way of

                            CIRI's recording of its security interests, Knott was constructively aware ofCIRI's security

                            interests and the priority of those interests and that they would attach to any new leases that

                            NordAq might acquire. Knott knew, or should have known, and/or was on constructive

                            notice of the fact that CIRI's preexisting and outstanding security agreements would attach

                            in a priority position to any oil and gas leases that NordAq would acquire in the future.

                                   34.     In late 2013, Knott and Devine once again spoke regarding Knott's desire to

                            acquire certain new oil and gas leases located on the Alaska North Slope from the BLM

                            and the ADNR. But, in 2013, Knott and his companies still did not qualify with the ADNR

                            and/or the BLM to apply and/or bid for Alaska North Slope oil and gas leases. NordAq,

                            however, already owned Alaska oil and gas leases, the Tulimaniq leases, and qualified to

                            apply and bid for new Alaska North Slope oil and gas leases. Knott proposed to Devine

                            and the two agreed upon a plan by which Devine would commit NordAq to work with

                            Knott and one or more of Knott' s companies, at Knott' s choosing, to acquire new

                            specifically identified North Slope oil and gas leases. By this plan, Knott and Devine

                            agreed that NordAq would use its geologists, technical resources, and personnel to identify

                            and bid on the lease prospects and use NordAq's status as a qualified bidder in the

                            BLM/ADNR auctions, while Knott individually, and/or through one or more of his

                            companies, would (a) loan funds to NordAq to make application and pay the required

  BRENA, BELL &             20 percent downpayment to BLM and/or ADNR that was required in order to bid for the
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 Phone: (907) 258-2000      specifically identified Alaska North Slope oil and gas leases; (b) loan NordAq the funds
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                            needed to pay the balance of the purchase price for the leases; and (c) loan NordAq the

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                            funds needed to pay the first year's rents on the leases. Devine and Knott understood that

                            payment in full of the following three things, (i) the deposits on the leases, (ii) the balances

                            of the purchase prices for the leases, and (iii) the first-year rental payments on the leases,

                            were conditions precedent to NordAq being able to acquire the desired leases from the

                            ADNR and BLM and thereafter transfer the leases into the new company that Knott agreed

                            to form and qualify with ADNR and BLM.

                                    35.    Knott and Devine agreed that if NordAq was successful in applying and/or

                            bidding on the specifically identified Alaska North Slope oil and gas leases, using the

                            loaned funds from Knott individually and/or from one of his companies, then Knott would

                            form a new company, and work to promptly register and qualify that new company with

                            ADNR and BLM so that it could receive transfer of and hold the leases. Despite their

                            knowledge, real or constructive, of the CIRI security interests that would attach to leases

                            acquired by N ordAq, Devine and Knott agreed that Knott or one of his companies,

                            including, but not limited to, the newly formed company, would have a call option to have

                            the leases, once acquired, conveyed to the new holding company in exchange for

                            extinguishment of the NordAq loans (which had been used to bid on, acquire, purchase,

                            and maintain the leases so that they could ultimately be transferred to the new company),

                            plus a 30 percent interest in the new company. This new holding company, which Knott

                            eventually formed as GE, upon the exercise of the call option, was to be 70 percent owned

  BRENA, BELL &             by Knott and/or one of his companies, in recognition of the fact that Knott and/or his
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 Phone: (907) 258-2000      companies would have funded the purchase and maintenance of the specifically identified
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                            oil and gas leases. Devine and Knott agreed that NordAq would receive and retain a

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                            30 percent interest in the newly formed company (GE), in recognition of its contribution

                            to the transaction, that contribution being (a) the identification of the lease prospects and

                            the technical and geological support used in such identification, and (b) lending its

                            qualification to bid on and complete the acquisition and purchase of the leases in the

                            BLM/ADNR auctions.

                                    36. Devine and Knott agreed that if Knott and/or his companies elected not to

                            exercise the call option for the transfer of the oil and gas leases once they were acquired,

                            then Nordaq would retain the leases, but would return Knott's and/or his companies'

                            funding via the repayment of the loans. The intention of the parties was that the newly

                            formed company (GE) would be formed and qualified as soon as practical and the option

                            to convey the leases from NordAq into the newly formed company would be made

                            immediately. In recognition that the acquisition of the leases, and thus the payment of all

                            funds necessary to acquire the leases, were a condition precedent to the call option, Devine

                            and Knott agreed that Knott's call option could be exercised only within 120 days after the

                            newly formed company (GE) had been incorporated and registered with the BLM and

                            ADNR and thus was in a position to receive transfer of the leases.

                                   37.     Devine and Knott agreed and executed, and Devine executed for NordAq,

                            without notice or authority from NordAq's Board of Directors, a series of agreements to

                            memorialize and carry out the overall plan and transaction described in paragraphs 32-35

  BRENA, BELL &             above. On November I, 2013 Devine, Kidd and Knott executed a Memorandum of
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                            entering into a "transaction" in which Knott and/or any of Knott's associates or connected

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                            persons incorporated or organized or resident in a jurisdiction of Knott' s choosing, all of

                            whom and which were referred to as "AK" in the MOU, would "participate and assist in

                            procuring funding for the exploration for and extraction of oil and gas from the areas in

                            Alaska's North Slope governed by the oil and gas leases listed on the Schedule created

                            contemporaneously and attached thereto, specifically the Grey Owl and Castle leases. The

                            MOU plainly states the understanding between Devine and Knott that they were entering

                            NordAq and Knott and the affiliated companies of Knott's choosing into a transaction

                            whereby (a) NordAq would contribute its qualifications to bid on, acquire and temporarily

                            own the specifically identified Grey Owl and Castle Alaska oil and gas leases; (b) Knott

                            and/or his affiliated companies would contribute the money necessary to pay the

                            acquisition and maintenance costs associated with acquiring the specifically identified

                            Grey Owl and Castle Alaska oil and gas leases; (c) Knott would form the new company

                            (GE) into which NordAq would transfer the specifically identified Grey Owl and Castle

                            Alaska oil and gas leases after acquisition; (d) GE would pay NordAq the balance due

                            under the loans from Knott and/or his affiliated companies to finance the acquisition and

                            maintenance of the specifically identified Grey Owl and Castle Alaska oil and gas leases-

                            effectively extinguishing NordAq's loan obligations; (e) GE would pay the maintenance

                            and development costs associated with maintaining and developing the specifically

                            identified Grey Owl and Castle Alaska oil and gas leases; and (t) Knott and GE would

  BRENA, BELL &             transfer to NordAq stock in GE equal to a 30 percent equity share in the company.
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 Phone: (907) 258-2000             38.     As a condition of Knott and/or his affiliated companies contributing the funds
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                            to NordAq to make the bids on the leases for the benefit of Knott and his companies, Knott

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                            required Devine and another NordAq Board member, Kidd, to sign personal guarantees to

                            secure the debt that would exist during the period of time that the leases were held by

                            NordAq prior to transfer to the new company (GE). On information and belief, Devine

                            provided said guarantee to Knott and his affiliated companies with the understanding that

                            Knott and/or his affiliated companies, including perhaps the new holding company to be

                            formed by Knott for the purpose of receiving the oil and gas leases (GE), would provide

                            personal benefit to Devine. At the time that the transaction with Knott and his companies

                            was first initiated, Devine caused Company employees to issue 200,000 options to Devine,

                            representing approximately 3 percent of the total underlying common shares of the

                            Company then outstanding. And, after Devine left NordAq, he accepted a position with

                            the new company formed to hold the oil and gas leases (GE), a position that Knott offered

                            him.

                                   39.     The MOU referenced a Loan Agreement between Knott and NordAq, which

                            was also dated November 1, 2013, to cover the cost of the deposits that had to be paid to

                            the ADNR and the BLM in order to submit bids on the specifically identified Grey Owl

                            and Castle Alaska oil and gas leases. The First Loan Agreement was for $700,000, the

                            amount that the parties then anticipated would be the cost of the deposits for the specifically

                            identified leases. On January 24, 2014, this First Loan was increased by $169,000 to

                            $869,200, in recognition that the required deposits on the leases would be $869,200. The

  BRENA, BELL &             parties and the MOU, however, anticipated additional loans. The $869,200 was not nearly
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 Phone: (907) 258-2000      sufficient to enable NordAq to acquire the leases. The initial loan totalling $869,200 was
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                            to cover only the twenty percent deposit required to bid on the leases. The Schedule

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                            attached to the MOU and the First Loan Agreement showed bid deposits totaling

                            $871,700-consisting of $465,200 (Grey Owl)+ $406,500 (Castle). The MOU and the

                            First Loan Agreement spoke of how NordAq would (1) "transfer" the leases into a new

                            company to be formed by Knott ("NewCo"), and (2) how, upon transfer, Knott or NewCo

                            would pay NordAq the remaining unpaid balance of the borrowed funds (washing out the

                            obligation) and also deliver to NordAq shares of stock equal to 30 percent equity in NewCo.

                            However, the First Loan was substantially insufficient to acquire the leases (the total

                            acquisition cost for the leases was $5,639,929.70). The Schedule attached to the MOU and

                            the First Loan Agreement showed the total acquisition cost for the leases to be: $746,670

                            Grey Owl rentals+ $465,200 Grey Owl deposits+ $1,837,072.32 Grey Owl balances+

                            $583,743 Castle rentals + $406,500 Castle deposits + $1,600,744.40 Castle balances =

                            $5,639,929.70.

                                   40.     The MOU contained a section entitled "Pre-Emption," which served the sole

                            purpose of protecting Knott's interest in the leases. The Pre-Emption section reflected an

                            understanding that there would be additional loans involved in the overall transaction, and

                            that Knott and/or his affiliated companies would provide the additional funds necessary to

                            acquire the specifically identified Grey Owl and Castle leases. The Pre-Emption provision

                            was designed to protect Knott's intention and desire to own 70 percent of the specifically

                            identified Grey Owl and Castle oil and gas leases through his ownership in the new

  BRENA, BELL &             company that he was to form, by giving him a right of first refusal to either loan or invest
  CLARKSON, P.C.
 810 N Street, Suite 100
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 Phone: (907) 258-2000      the additional money necessary to acquire the leases. Knott did not want NordAq to acquire
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                            the remaining needed funds from any other person or entity, and thereby risk losing his

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                            intended and desired interest in the leases to that other person or entity. Notably, to the

                            extent the leases have been transferred into the new company (GE), which they have, then

                            the Pre-Emption provision of the MOU has served its sole purpose.

                                    41.    The First Loan Agreement also contained requirements that were not

                            possible to be performed. For example, the First Loan Agreement required NordAq to not

                            encumber the leases after they were acquired and before they were transferred into the new

                            company (GE). But, because of CIRI's perfected security interests in NordAq's property,

                            including after acquired property, CIRI's security interests would encumber the leases the

                            very moment that they were acquired by NordAq.

                                   42.     NordAq received the $869,700 from Knott and paid the money to the ADNR

                            and BLM as deposits on the leases, thus enabling NordAq to submit bids on the leases.

                            NordAq was the successful bidder on the leases.

                                   43.     Because NordAq was successful in bidding on the leases, Knott caused his

                            affiliated company, Lothian, to lend NordAq the funds necessary to pay (a) the remaining

                            balance of the purchase price (approximately $3.625 million); and (b) the first-year rents

                            on the leases (approximately $1.3 million).          Absent NordAq's payment of the entire

                            amount-in excess of $5 .6 million (including the deposits, the balances due for purchase,

                            and the first year rents )-NordAq would not have been able to acquire the leases or transfer

                            the leases to the newly formed company that Knott had agreed and promised to form (GE).

  BRENA, BELL &                    44.     On January 24, 2014, Knott and Devine, operating under the same
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 Phone: (907) 258-2000      understanding that had been set forth originally in the MOU and the First Loan Agreement,
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                            caused a Second Loan Agreement to be executed, this time between NordAq and Lothian.

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                            This Second Loan Agreement was but a continuation of the original plan that had been

                            initiated by the MOU and the First Loan Agreement. The Second Loan Agreement was

                            for $3.625 million and was for the expressly stated purpose of funding (a) NordAq's

                            business expenses, and (b) the capital and operating expenses for its business "in each case

                            relating to the oil and gas leases," meaning the specifically identified Grey Owl and Castle

                            leases listed on the Schedule that was originally attached to the MOU and the First Loan

                            Agreement. The Second Loan Agreement specifically limited NordAq's use of the funds

                            to the Grey Owl and Castle leases that were to eventually be transferred into GE, with GE

                            being owned 70/30 by NordAq and Knott and/or Knott's affiliated companies.

                                    45.    On February 10, 2014, Knott and Devine, operating under the same

                            understanding that had been set forth originally in the MOU and the First Loan Agreement,

                            caused a Third Loan Agreement to be executed, this time once again between N ordAq and

                            Lothian. This Third Loan Agreement was but a continuation of the original plan that had

                            been initiated by the MOU and the First Loan Agreement. The Third Loan Agreement was

                            for $1.3 million and was for the expressly stated purpose of funding "the acquisition and

                            first year rent for the oil and gas leases listed in the Schedule," meaning the specifically

                            identified Grey Owl and Castle leases listed on the Schedule that was originally attached

                            to the MOU and the First Loan Agreement. The Third Loan Agreement specifically limited

                            NordAq's use of the funds to the payment of the first year's rents due to the ADNR and

  BRENA, BELL &             the BLM for the Grey Owl and Castle leases that were to eventually be transferred into GE,
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 Phone: (907) 258-2000      with GE being owned 70/30 by NordAq and Knott and/or Knott's affiliated companies.
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                                    46.    Knott, working with Devine, failed to form the new company (GE) into

                            which the acquired leases were to be conveyed by NordAq prior to the date upon which

                            the remaining 80 percent of the lease-acquisition costs were required to be paid. As a

                            result, in order to protect and preserve his interest in the leases, Knott had Lothian make

                            the additional loans to NordAq to cover the remaining lease-acquisition costs pending the

                            formation and approval of the new holding company (GE). The call option had not yet

                            been exercised as a result of Knott's failure to timely form and qualify that new company

                            (GE)-because Knott had not timely formed or qualified the new company (GE) NordAq

                            was unable to transfer or convey the leases into the approved new holding company (GE).

                            All of the above was done with the understanding and agreement that the payments for

                            lease acquisition and other costs were the obligation of Knott and/or his affiliated

                            companies, including, but not limited to, Lothian and/or GE, and that the NordAq payments

                            were made only as an accommodation to Knott and his affiliated companies pending the

                            formation of the new company into which the leases were to be conveyed.

                                    47.    In violation of NordAq's Bylaws and controlling Delaware law, Devine

                            never noticed, called, and/or held a meeting ofNordAq's Board of Directors to consider

                            and approve the proposed oil and gas lease-acquisition transaction with Knott and his

                            affiliated companies, any of the loan transactions, or the option issuance to Devine. Devine

                            had NordAq's legal counsel prepare purported Minutes of a meeting of NordAq's Board

  BRENA, BELL &             of Directors, a meeting that purportedly was noticed and held on October 31, 2013, for the
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                            meeting of NordAq's Board of Directors to be noticed and/or held consistent with

                            Second Amended Complaint                                                       March 6, 2017
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                               Nord.Aq's Bylaws and/or controlling Delaware law.                On November 1, 2013, when

                               Nord.Aq's legal counsel received an email communication from Knott's legal counsel

                               inquiring whether the members ofNordAq's Board of Directors had been given notice of

                               the purported October 31, 2013, Board meeting, Devine wrote back to NordAq's legal

                               counsel and falsely stated that he had given notice of the meeting "by telephone." In truth,

                               Devine never gave notice to the NordAq Board members of any meeting in October or

                               November 2013, including, but not limited to, any meeting related to Knott's proposal.

                               The only Board member other than Devine who was aware of Devine's transaction with

                               Knott, was Kidd. Devine and Knott did not constitute a quorum of the Board ofNordAq.

                               Both Devine and Kidd breached their fiduciary duties by entering NordAq into the

                               transaction with Knott and eventually Lothian without Board approval. Regardless, as a

                               sophisticated businessman, Knott knew that NordAq's Board members could not vote to

                               acquire oil and gas leases at NordAq's expense, plus interest, and a potential $5 million

                               penalty paid to Knott, for the primary benefit of Knott and his affiliated companies, without

                               breaching the Board members' own fiduciary duties and other obligations to Nord.Aq and

                               its shareholders.

                                       48.    The oil and gas leases contemplated by Devine and Lothian/Knott were

                               awarded to NordAq in February 2014. Subsequently, Knott assigned the call option to a

                               company that he incorporated, GE. Throughout this time, Devine and Knott knew that the

  BRENA, BELL&                 oil and gas leases awarded to NordAq as part of the plan referenced above were subject to
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                               NordAq's preexisting loan and security agreements with CIRI and CIRI's loans. Knott did
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                               not get GE registered and qualified with ADNR and BLM until early 2016.

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                                   49.     Because Knott did not timely form, register and qualify GE, NordAq was

                            required to hold and maintain the Grey Owl and Castle leases through 2015 and into early

                            2016. Although Knott and his affiliated companies, including, but not limited to, GE, were

                            supposed to bear the cost of maintaining the leases after acquisition, NordAq was required

                            to pay the rents on the leases in 2015 in the approximate amount of $1.3 million .

                                   50.     In January and February 2014, Devine caused NordAq to issue 238,750

                            warrants to Knott's wife and 132,916 warrants to Knott's business associates, named

                            Azima Musayeva and Hayal Ahmadzada (collectively, the "Knott Warrants"). The Knott

                            Warrants represented over 5 percent of the total underlying common shares of the

                            Company then outstanding. In violation of NordAq's Bylaws and controlling Delaware

                            law, Devine never noticed, called, and/or held a meeting ofNordAq's Board of Directors

                            to consider and approve the Knott Warrants. N ordAq received no benefit from the issuance

                            of the Knott Warrants. On information and belief, however, Devine and Knott agreed that

                            Devine would receive a personal benefit from Knott, Lothian, and/or GE in consideration

                            for the unauthorized issuances of the Knott Warrants.

                                   51.     In July 2015, Devine resigned from his employment with NordAq. Soon

                            after his resignation, Knott caused GE to engage Devine.

                                   52.     On information and belief, GE became registered with the BLM and ADNR

                            in late 2015 or early 2016. In about November 2015, Knott and his affiliated companies

  BRENA, BELL &             attempted to acquire and assume the CIRI loans outstanding with NordAq, including
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 810 N Street, Suite 100
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 Phone: (907) 258-2000      CIRI's liens on NordAq's oil and gas leases. Knott was unsuccessful in acquiring or
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                            assuming the CIRI loans and liens regarding NordAq, and the CIRI loans and liens were

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                            acquired by and transferred to an entity known as Arulux Second S. ar. ("Arulux"). Knott

                            had been aware of the CIRI loans to NordAq, the CIRI security interests in NordAq's assets

                            and property, including NordAq's after acquired property, such as the Grey Owl and Castle

                            leases, and the CIRI liens against the same property and leases, since before February, 2014

                            and perhaps also before November 2013.

                                   53.     On or about January 7, 2016, Knott caused GE to issue notice to NordAq of

                            its intention to exercise the call option. At the time that Knott caused GE to give this notice

                            to NordAq, Knott knew that the leases were encumbered by the CIRI liens that had been

                            transferred to Arulux.       NordAq's then-President, Robert Warthen, confirmed, by a

                            February 10, 2016, email to Knott and GE, that, consistent with the plan that Devine had

                            developed and caused NordAq to consummate with Knott and eventually Lothian, NordAq

                            had assigned the oil and gas leases to GE. NordAq assigned the leases to GE with the

                            understanding and expectation that the Knott and Lothian loans used for lease acquisition

                            would be extinguished, as agreed upon by the parties. Thereafter, GE informed NordAq

                            of its intention to transfer to NordAq 240,000 fully paid, ordinary shares in the capital of

                            GE. At present, Knott has still not caused GE to issue stock to NordAq, and the State of

                            Alaska, Department of Commerce, Community, and Economic Development, Division of

                            Corporations, still reflects that GE is 100 percent owned by Knott.

                                   54.     After the conveyance of the leases to GE, Lothian and Knott devised, and

  BRENA, BELL &             are in the process of attempting to execute, a scheme to retain both the leases conveyed
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 Phone: (907) 258·2000      pursuant to the call option, as well as the payment of all of the loan amounts extended to
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                            purchase the leases (i.e., Lothian's consideration under the original carry agreement),

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                            including the Lothian loans made so that N ordaq, as a qualified purchaser in the bid round,

                            would accommodate GE's request that all the lease-acquisition costs, among other GE

                            expenses, would be made prior to the respective deadlines for such payments, plus interest

                            thereon. In effect, Knott and Lothian devised and acted in concert to seek, and they are

                            seeking to achieve the absurd outcome where Nordaq would not only provide its agreed-

                            upon services for Knott, Lothian, and GE, but it would also effectively finance and pay for

                            Knott's full 70 percent equity interest in GE. And, Devine, Knott, and Lothian acted in

                            concert to effectuate the transfer of the oil and gas leases to GE in violation of the

                            CIRI/Arulux loan and security agreements and liens, and to leave NordAq subject to

                            potential liability to Arulux.

                                                    CAUSES OF ACTION AGAINST DEVINE

                                                             COUNT I-CONVERSION

                                    55.    N ordAq incorporates herein the allegations stated in paragraphs 11-54 above.

                                    56.    Through his actions described in detail above, including, but not limited to,

                            (a) transferring to and/or expending and/or utilizing NordAq funds and/or property for his

                            own, his family members', and/or his personal friends' benefits, and/or in order to induce

                            others to provide benefit or value to Devine; (b) transferring to and/or expending and/or

                            utilizing N ordAq funds and/or property for Kidd's own, his family members' and/or Kidd's

                            personal friends' benefits, and/or in order to induce Kidd and others to provide benefit or

  BRENA, BELL &             value to Devine; and (c) usurping valuable corporate opportunities that rightfully belonged
  CLARKSON, P.C.
 810 N Street, Suite 100
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 Phone: (907) 258-2000      to NordAq, Devine committed conversion(s) ofNordAq's monies, tangible and intangible
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                            property, and/or corporate opportunities.

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                                    57.    As a direct and proximate result of Devine's convers10n, NordAq has

                            suffered damages, the exact amount and nature of which will be proven with particularity

                            at trial. NordAq did not discover or learn of Devine's conduct described above until

                            September 2016.

                                    58.    Devine 1s liable to NordAq for its damages incurred as referenced in

                            paragraph 56 above.

                                    59.    Devine's conduct, as described above, was willful, intentional, malicious,

                            and outrageous, and he is therefore responsible to NordAq for punitive or exemplary

                            damages in an amount to be determined at trial.

                                                  COUNT 2-BREACH OF FIDUCIARY DUTY
                                                     (Failure to Exercise Reasonable Care)

                                   60.     NordAq incorporates herein the allegations stated in paragraphs 11-54 above.

                                   61.     At all times pertinent to this Complaint, as an officer and Director ofN ordAq,

                            Devine was a fiduciary to NordAq and owed NordAq fiduciary duties.

                                   62.     Devine's fiduciary duties to NordAq required him to possess that degree of

                            knowledge and to exercise that degree of care that an ordinary officer and director would

                            have possessed and exercised on behalf ofNordAq under like or similar circumstances.

                                   63.     Devine's conduct, as described in paragraphs 11-54 above, including, but not

                            limited to, his conduct with respect to Knott, Lothian, and CIRI/Arulux, breached Devine's

                            fiduciary duty of care owed to N ordAq.
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                                   64.     As a direct and proximate result of Devine's breach of his fiduciary duty of

                            care, NordAq has suffered damages, the exact amount and nature of which will be proven

                            with particularity at trial.

                                               COUNT 3-BREACH OF FIDUCIARY DUTY
                               (Failure to Disclose Material Information and to Maintain Loyalty to NordAq)

                                   65.     NordAq incorporates herein the allegations stated in paragraphs 11-54 above.

                                   66.     Devine's fiduciary duties to NordAq required him to disclose to NordAq, by

                            and through its Board of Directors, all material information affecting NordAq's rights and

                            interests, and to maintain loyalty to NordAq and to act in NordAq's best interests, without

                            regard to his own personal interests, to the extent that those interests conflicted with

                            N ordAq' s interests.

                                   67.     Devine' s conduct, as described in paragraphs 11-54 above, including, but not

                            limited to, his conduct with respect to Knott, Lothian, and CIRI/Arulux, breached Devine' s

                            fiduciary duty of disclosure and loyalty owed to NordAq.

                                   68.     As a direct and proximate result of Devine's breach of his fiduciary duty of

                            disclosure and loyalty, NordAq has suffered damages, the exact amount and nature of

                            which will be proven with particularity at trial.

                                                         COUNT 4-FIDUCIARY FRAUD
                                                     (Failure to Disclose Material Information)

                                   69.     NordAq incorporates herein the allegations stated in paragraphs 11-54 above.

  BRENA, BELL &                    70.     Any failure by a fiduciary to disclose material information to the beneficiary
  CLARKSON, P.C.
 810 N Street, Suite 100
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 Phone: (907) 258-2000      of the fiduciary relationship constitutes fiduciary fraud. Devine's failure as a fiduciary to
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                            disclose material information to NordAq, as referenced above, including, but not limited

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                            to, information regarding Knott, Lothian, and the potential and/or real conflict between the

                            Knott and Lothian transaction and the CIRI/Arulux loan and security agreements and liens,

                            constitutes fraud.

                                    71.     NordAq relied to its detriment upon and acted against its own best interests,

                            as a result ofDevine's failure to provide material information to NordAq.

                                    72.     As a direct and proximate result of NordAq's detrimental reliance, NordAq

                            has suffered damages, the exact amount and nature of which will be proven with

                            particularity at trial.

                                    73.     Devine's conduct, as described above, was willful, intentional, malicious,

                            and outrageous, and he is therefore responsible to NordAq for punitive or exemplary

                            damages in an amount to be determined at trial.

                                                          CAUSES OF ACTION AGAINST
                                                      KNOTT, LOTHIAN, AND GOLDEN EAGLE

                                                 COUNT 5-AIDING AND ABETTING DEVINE'S
                                                 AND KIDD'S BREACH OF FIDUCIARY DUTIES
                                                         (Against Knott and Lothian)

                                    74.     NordAq incorporates herein the allegations stated in paragraphs 32-54 above.

                                    75.     When Knott contacted Devine in or around 2013, and sought Devine's

                            assistance, by and through NordAq, in obtaining oil and gas leases in Alaska, Knott had

                            actual knowledge that Devine owed fiduciary and other duties and obligations to NordAq

                            in connection with his employment at the Company and his position as a NordAq Board
  BRENA, BELL &
  CLARKSON, P.C.
 810 N Street, Suite 100    member, including duties of loyalty, good faith, care, and disclosure.
Anchorage, Alaska 99501
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                                    76.     Knott also had actual knowledge that Kidd owed fiduciary and other duties

                            and obligations to NordAq in connection with his employment at the Company and his

                            position as a NordAq Board member, including duties of loyalty, good faith, care, and

                            disclosure. 1

                                    77.     Knott also had actual knowledge that NordAq's Board of Directors owed

                            fiduciary and other obligations to the Company and its shareholders, including duties of

                            loyalty and care.

                                    78.     As described in paragraphs 32-54, Devine and Kidd breached their duties and

                            obligations owed to NordAq and NordAq's shareholders by unilaterally entering into the

                            agreements with Knott and Lothian and receiving the issuance of the Knott warrants as

                            referenced in paragraph 50 above, without approval from NordAq's Board of Directors.

                                   79.      To the extent Knott's and Lothian's unbelievably one-sided interpretation of

                            the agreements is correct, which it is not, Knott had actual knowledge that execution of the

                            agreements was a breach of both Devine's and Kidd's fiduciary and other obligations to

                            NordAq.

                                    80.     Further, Knott also had actual knowledge that Board approval of such a one-

                            sided transaction would have been a violation NordAq's Board's fiduciary and other

                            obligations to the Company and its shareholders. Knott's interpretation of the transaction

                            and the agreements associated with it does not lend itself to any conceivable rational

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                             NordAq has separately sued Kidd for breach of fiduciary and other obligations. See Case
                            No. 3:17-cv-00031-JWS.

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                            corporate purpose for NordAq.             Further, under no circumstances could Knott's

                            interpretation of the transaction and the agreements associated with it be described as

                            entirely fair to the NordAq and its shareholders.

                                        81.   Accordingly, Knott, acting individually and on behalf of Lothian,

                            substantially assisted and encouraged Devine and Kidd to execute the transaction and the

                            agreements associated with it despite knowing that execution of such an alleged one-sided

                            agreement would constitute a breach of Devine's and Kidd's fiduciary and other

                            obligations to NordAq.

                                        82.   And, Knott, acting individually and on behalf of Lothian, conducted himself

                            m ways that he believed substantially assisted and encouraged NordAq's Board of

                            Directors to approve the agreements associated with it, despite knowing that Board

                            approval of such an alleged one-sided transaction would constitute a breach of the Board's

                            fiduciary and other obligations to NordAq and its shareholders.

                                        83.   As a direct and proximate result of Knott's and Lothian's conduct, NordAq

                            has suffered damages, the exact amount and nature of which will be proven with

                            particularity at trial.

                                        84.   Knott and Lothian are liable to NordAq for its damages incurred as

                            referenced in paragraph 83 above.

                                        85.   Knott's conduct individually and for Lothian, as described above, was

  BRENA, BELL &             willful, intentional, malicious, and outrageous, and Knott and Lothian are therefore
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Anchorage, Alaska 99501
 Phone: (907) 258-2000      responsible to NordAq for punitive or exemplary damages in an amount to be determined
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                            at trial.

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                                                            COUNT 6-RESCISSION
                                                    (Against Knott, Lothian, and Golden Eagle)

                                    86.    NordAq incorporates herein the allegations stated in paragraphs 32-54 above.

                                    87.    NordAq's Board of Directors never received notice of or approved the

                            alleged agreements that were executed by Devine and Kidd.

                                    88.    As described in paragraphs 32-54 above, when NordAq finally became aware

                            of the agreements, NordAq had a completely different understanding of the terms of the

                            agreements than did Knott, Lothian, and GE. Notably, NordAq's understanding is fair and

                            equitable, whereas Knott, Lothian, and GE's understanding is irrational and unfair.

                                    89.    Further, as described in paragraphs 32-54 above, the agreements were

                            executed without NordAq's Board's approval as a result of the fraudulent conduct of

                            Devine and Kidd.

                                   90.     And, as described in paragraphs 32-54 above, as a result of the preexisting

                            CIRI security interests, which Knott, Lothian, and Devine were all aware of, the

                            agreements contained requirements that were impossible for NordAq to perform from the

                            day the agreements were executed.

                                   91.     Accordingly, the agreements between NordAq, Knott, Lothian, and GE,

                            including, but not limited to, Devine's issuance of the Knott Warrants, as referenced in

                            paragraph 50 above, should be rescinded as a result of the improper and/or fraudulent

                            circumstances under which the agreements were executed, the Parties' mutually mistaken
  BRENA, BELL &
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 810 N Street, Suite 100    understanding of the material terms of the agreements, and the impossibility of
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                            performance under the agreements.


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                                                      COUNT 7-DECLARATORY RELIEF
                                                    (Against Knott, Lothian, and Golden Eagle)

                                    92.    NordAq incorporates herein the allegations stated in paragraphs 32-54 above.

                                    93.    There exists an actual, real, and genuine dispute and controversy between

                            NordAq and Lothian, Knott, and GE regarding the meaning and application of the NordAq-

                            Knott Contract, executed by Devine and Kidd allegedly on behalf ofNordAq.

                                    94.    As a result of this actual, real, and genuine dispute and controversy between

                            NordAq and Lothian, Knott, and GE, pursuant to 28 U.S.C. §§ 2201, 2202, NordAq is

                            entitled to a declaratory judgment from the Court declaring its rights and obligations, if

                            any, as to Lothian, Knott, and GE, with respect to the transaction between NordAq, Knott,

                            Lothian, and GE, and the agreements entered into in association with that transaction.

                                    95.    As an alternative, if the Court does not rescind the transaction and the

                            agreements associated with it, then NordAq asks the Court to declare that (a) there was one

                            overall transaction and contractual agreement between NordAq and Knott and Lothian

                            related to the acquisition of the Grey Owl and Castle oil and gas leases; (b) the one overall

                            transaction between N ordAq and Knott and Lothian related to the acquisition of the Grey

                            Owl and Castle oil and gas leases, involved (i) NordAq providing its qualifications and

                            technical expertise in being able to bid on and acquire oil and gas leases in Alaska and in

                            knowing which leases would be the best to acquire; and (ii) Knott and Lothian providing

                            the money necessary to finance the complete acquisition and maintenance costs associated
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 810 N Street, Suite 100    with the Grey Owl and Castle leases; (c) Knott was to form GE and register and qualify it
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                            with the ADNR and the BLM in a prompt manner in 2014 so that NordAq could transfer


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                            the leases acquired into GE; (d) upon transfer of the leases into GE, Knott was to cause GE

                            to pay to NordAq the remaining outstanding balances of the loans from Knott and Lothian

                            to NordAq, so as to in effect wash out the loan obligations from NordAq to Knott and

                            Lothian under the First, Second, and Third Loan Agreements; (e) after GE received transfer

                            of the leases, GE was to be owned 70/30 by NordAq and Knott or Knott and any

                            combination of his affiliated individuals or companies; (f) GE was to assume all costs

                            associated with the maintenance of the leases after they were acquired by the bid in 2014;

                            (g) the Pre-Emption set forth in the MOU was intended to protect and does protect only

                            Knott's right of first refusal to invest in and/or lend money to NordAq only with respect to

                            the acquisition and maintenance of the Grey Owl and Castle leases acquired as part of the

                            transaction and the agreements associated with it; and (h) the amount stated as being due

                            under the Pre-Emption is an unlawful and unenforceable penalty. NordAq also asks that

                            the Court declare the Knott Warrants void.

                                                          COUNT 8-REFORMATION
                                                    (Against Knott, Lothian, and Golden Eagle)

                                   96.     NordAq incorporates herein the allegations stated in paragraphs 32-54 above.

                                   97.     NordAq's Board of Directors never received notice of or approved the

                            alleged agreements that were executed by Devine and Kidd.

                                   98.     As described in paragraphs 32-54 above, when NordAq finally became aware

                            of the agreements, NordAq had a completely different understanding of the terms of the
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 810 N Street, Suite 100    agreements than did Knott, Lothian, and GE. Notably, NordAq's understanding is fair and
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                            equitable, whereas Knott, Lothian, and GE's understanding is irrational and unfair.


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                                    99.    Further, as described in paragraphs 32-54 above, the agreements were

                            executed without NordAq's Board's approval as a result of the fraudulent conduct of

                            Devine and Kidd.

                                    100.   And, as described in paragraphs 32-54 above, as a result of the preexisting

                            CIRI security interests, which Knott, Lothian, and Devine were all aware of, the

                            agreements contained requirements that were impossible for NordAq to perform from the

                            day the agreements were executed.

                                    101.   Thus to the extent the Court does not order rescission of the transaction and

                            the agreements associated with it, and the Court disagrees with NordAq's understanding

                            of the circumstances underlying the transaction and NordAq's interpretation of the

                            language of the agreements , the Court should order the reformation of the agreements in

                            a manner that effectuates NordAq's more objectively reasonable, equitable, and rational

                            understanding of the transaction and the agreements associated with it.

                                                      COUNT 9-BREACH OF CONTRACT
                                                    (Against Knott, Lothian, and Golden Eagle)

                                    102.   NordAq incorporates herein the allegations stated in paragraphs 32-54 above.

                                    103.   Assuming the Court denies NordAq's request for rescission, but either

                            interprets or reforms the agreements between N ordAq and Knott/Lothian in a manner

                            consistent with NordAq's reasonable understanding of the transaction and the agreements

                            associated with it, then NordAq has performed all of its obligations thereunder.
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                                    104.   Conversely, Knott and Lothian breached the agreements between NordAq

                            and Knott/Lothian by failing to form GE within a reasonable amount of time after NordAq

                            acquired the leases.

                                    105.   Additionally, Knott, Lothian, and Golden Eagle breached the agreements by

                            failing to pay NordAq in an amount equal to NordAq's then outstanding loan balances held

                            by Knott and Lothian. Indeed, as described in the MOU, such payments were intended to

                            extinguish NordAq's outstanding debt to Knott and Lothian in exchange for NordAq's

                            transfer of the leases to GE. NordAq transferred the leases to GE, but has received no

                            payment from Lothian, Knott, and/or GE in return, and Knott and Lothian continue to

                            demand payment of the loans and interest thereon.

                                    106.   Also, Knott, Lothian, and Golden Eagle breached the agreements by failing

                            to transfer to NordAq a 30 percent ownership interest in GE following NordAq's transfer

                            of the leases to GE.

                                    107.   As a direct and proximate result of Lothian's, Knott's, and GE's breaches of

                            contract, NordAq has suffered damages, the exact amount and nature of which will be

                            proven with particularity at trial.

                                                   COUNT 10-BREACH OF THE COVENANT
                                                     OF GOOD FAITH AND FAIR DEALING
                                                    (Against Knott, Lothian, and Golden Eagle)

                                    108.   NordAq incorporates herein the allegations stated in paragraphs 32-54 above.

  BRENA, BELL &                     109.   The agreements associated with the transaction at issue in this action each
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                            each other and would deal with each other fairly in all matters related to the contracts.

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                            Lothian, Knott, and GE owe this duty of good faith and fair dealing to NordAq with respect

                            to the transaction and the agreements associated with it and all matters related to the

                            transaction and contracts between NordAq, and Lothian, Knott, and GE.

                                    110.    Lothian, Knott, and GE breached their duties of good faith and fair dealing

                            owed to NordAq by their actions referenced in paragraphs 32-54 and 103-107 above.

                                    111.    As a direct and proximate result of Lothian's, Knott's, and GE's breaches of

                            the duty of good faith and fair dealing, NordAq has suffered damages, the exact amount

                            and nature of which will be proven with particularity at trial.

                                                COUNT 12-UNFAIR TRADE PRACTICES ACT
                                                            AS 45.50.471, ET SEQ.
                                                  (Against Knott, Lothian, and Golden Eagle)

                                    112.    NordAq incorporates herein the allegations stated in paragraphs 32-54 and

                            103-107 above.

                                    113.    Knott, Lothian, and GE are engaged in trade or commerce in Alaska.

                                    114.    While engaging in trade or commerce in Alaska, Knott, Lothian, and GE

                            committed unfair and/or deceptive acts or practices.

                                    115.    Specifically, Knott and/or Lothian wrongfully and in bad faith delayed

                            forming GE so that NordAq would be required to pay substantial costs necessary to

                            maintain the Leases that would ultimately be transferred to GE.

                                    116.   Additionally, Knott, Lothian, and/or GE accepted NordAq's transfer of the

  BRENA, BELL &             Leases to GE but wrongfully and in bad faith refused to pay NordAq the amounts due under
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 Phone: (907) 258-2000      the MOU in exchange for such transfers, and continue to demand that NordAq pay to Knott
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                            and Lothian the amounts for the loans, plus interest.

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                                        117.   Also, Knott, Lothian, and/or GE accepted NordAq's transfer of the Leases to

                            GE but wrongfully and in bad faith refused to transfer a 30 percent ownership interest in

                            GE to NordAq in exchange for such transfers.

                                        118.   Further, not only did Knott, Lothian, and/or GE wrongfully and in bad faith

                            refuse to pay NordAq for the leases that were transferred to Golden Eagle, and refuse to

                            transfer the requisite 30 percent ownership interest in GE to NordAq, Knott, Lothian,

                            and/or GE then wrongfully and in bad faith demanded that NordAq also repay the

                            outstanding loans, plus interest, and an additional $5 million illegal penalty.

                                        119.   Knott's, Lothian's, and/or GE's bad-faith actions violate Alaska's Unfair

                            Trade Practices Act ("UTPA"), and have caused NordAq damages, the exact amount and

                            nature of which will be proven with particularity at trial.

                                        120.   Pursuant to AS 45.50.53 l(a) and .537, NordAq is entitled to treble damages,

                            plus its actual reasonable attorneys' fees and costs.

                                                                 PRAYER FOR RELIEF

                                        WHEREFORE, NordAq prays for a trial by jury and that judgment be entered in its

                            favor and against Devine, Knott, Lothian, and GE as follows:

                                        1.     For compensatory damages against Devine in an amount to be proven at trial,

                            but in no event less than the jurisdictional limit of this Court;

                                        2.     For punitive or exemplary damages against Devine in an amount to be proven

  BRENA, BELL &             at trial;
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                                     3.    For rescission of the transaction and agreements and the Knott Warrants as

                            described above between NordAq, Knott, Lothian, and GE and Knott's family and affilated

                            persons;

                                     4.    Alternatively, should the Court not rescind the agreements, for declaratory

                            judgment against Lothian, Knott, and GE declaring NordAq's rights and obligations as to

                            Lothian, Knott, and GE regarding the agreements wrongfully executed by Devine and Kidd

                            without approval from NordAq's Board of Directors in a manner consistent with the

                            objectively reasonable, equitable, and fair interpretation stated in paragraphs 32-54 and 95

                            above;

                                     5.    Alternatively, should the Court not rescind the agreements or issue the

                            requested declaratory relief, for reformation of the agreements consistent with NordAq's

                            objectively reasonable, equitable, and fair interpretation, as described in more detail above;

                                     6.    Should the Court either reform or declare the agreements to be consistent

                            with NordAq's objectively reasonable, equitable, and fair interpretation, for consequential

                            damages against Knott, Lothian, and GE in amounts to be proven at trial, but in no event

                            less than the jurisdictional limit of this Court;

                                     7.    For treble damages against Knott, Lothian, and GE, as provided for under

                            Alaska's UTP A;

                                     8.    For actual reasonable attorneys' fees and costs assessed against Knott,

  BRENA, BELL &             Lothian, and GE, as provided for under Alaska's UTPA;
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                            allowed by applicable law; and

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                                   10.     For such other and further relief as the Court deems just and equitable.

                                   DATED this 6th day ofMarch, 2017.

                                                                          BRENA, BELL & CLARKSON, P.C.
                                                                          Attorneys for Plainti~ ;)


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                            Certificate of Service
                            The undersigned hereby certifies
                            that on the 6th day of March, 2017,
                            a true and correct copy of the
                            foregoing was served by e-mail
                            upon:

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